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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :
              v.                            :          CRIMINAL NO. 1:21-MJ-460
                                            :
KEVIN DOUGLAS CREEK,                        :
                                            :
                      Defendant.            :


                                    NOTICE OF FILING

       The Government requests that the attached discovery letter, dated October 12, 2021, be

made part of the record in the above-captioned case.

                                            Respectfully submitted,

                                            CHANNING D. PHILLIPS
                                            ACTING UNITED STATES ATTORNEY


                                            ________________________________
                                            JACOB J. STRAIN
                                            Utah Bar No. 12680
                                            Assistant United States Attorney
                                            U.S. Attorney’s Office for the District of Columbia
                                            555 4th Street, N.W.
                                            Washington, D.C. 20530
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                                                    U.S. Department of Justice

                                                    CHANNING D. PHILLIPS
                                                    Acting United States Attorney
                                                    District of Utah


                                                      Judiciary Center
                                                      555 Fourth St. N.W.
                                                      Washington, D.C. 20530


                                         October 12, 2021

C. DAVID JOYNER, P.C.
1305 Mall of Georgia Blvd., Suite 130
Buford, Georgia 30519
Office (770) 614-6415
e-mail: djoyner@cdavidjoynerpc.com

        RE:     U.S. v. KEVIN DOUGLAS CREEK (1:21-MJ-460)

Dear Counsel,

        Pursuant to our discovery obligations, we have provided the following files via USAfx on
October 12, 2021. Note that many of these files and their related physical attachments are
currently being formally processed for discovery by the discovery team assigned to the Capitol
Riots cases. As such, some of the same files will be re-produced with bates-stamps at a later date.
These files have all been designated as “Sensitive” pursuant to the terms of the Protective Order:

   1.      Creek 1.mp4
   2.      Creek Assault Sgt. M..mp4
   3.      Creek Throwing.mp4
   4.      Creek Video Assault.mp4

        Due to the extraordinary nature of the January 6, 2021 Capitol Attack, the government
anticipates that a large volume of materials may contain information relevant to this prosecution.
These materials may include, but are not limited to, surveillance video, statements of similarly
situated defendants, forensic searches of electronic devices and social media accounts of
similarly situated defendants, and citizen tips. The government is working to develop a system
that will facilitate access to these materials. In the meantime, please let me know if there are
any categories of information that you believe are particularly relevant to your client.

        This material is subject to the terms of the Protective Order issued in this case.
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         I recognize the government’s discovery obligations under Brady v. Maryland, 373 U.S.
83 (1963), its progeny, and Rule 16. I will provide timely disclosure if any such material comes
to light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, I will provide information about
government witnesses prior to trial and in compliance with the court’s trial management order.

        I request reciprocal discovery to the fullest extent provided by Rule 16 of the Federal
Rules of Criminal Procedure, including results or reports of any physical or mental examinations,
or scientific tests or experiments, and any expert witness summaries. I also request that
defendant(s) disclose prior statements of any witnesses defendant(s) intends to call to testify at
any hearing or trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S. 255 (1975). I
request that such material be provided on the same basis upon which the government will
provide defendant(s) with materials relating to government witnesses.

        Additionally, pursuant to Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3, I
request that defendant(s) provide the government with the appropriate written notice if
defendant(s) plans to use one of the defenses referenced in those rules. Please provide any
notice within the time period required by the Rules or allowed by the Court for the filing of any
pretrial motions.

        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.


                                             By: /s/ Jacob J. Strain
                                             JACOB J. STRAIN
                                             Assistant United States Attorney
